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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-0562V
                                          UNPUBLISHED


    CYNTHIA D. BRUNO,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: July 26, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Richard H. Moeller, Moore, Heffernan, et al., Sioux City, IA, for Petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

      On January 11, 2021, Cynthia D. Bruno filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she received an influenza (flu) vaccination on
October 7, 2019, and thereafter suffered from a left-sided shoulder injury related to
vaccine administration (“SIRVA”). Petition at 1-2. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On June 24, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On July 26, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded a total of $52,500.00 for
pain and suffering. Proffer at 1-2. In the Proffer, Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $52,500.00, (for pain and suffering) in the form of a check payable
to Petitioner. This amount represents compensation for all damages that would be
available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                   OFFICE OF SPECIAL MASTERS
____________________________________
                                    )
CYNTHIA D. BRUNO,                   )
                                    )
            Petitioner,             )
                                    )                No. 21-562V
      v.                            )                Chief Special Master Brian H. Corcoran
                                    )                ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
                                    )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

      On June 23, 2022, respondent conceded that entitlement to compensation was appropriate

under the terms of the Vaccine Act. ECF No. 24. On June 24, 2022, Chief Special Master

Corcoran issued a Ruling on Entitlement, finding that petitioner was entitled to vaccine

compensation for her Shoulder Injury Related to Vaccine Administration (“SIRVA”) and related

sequela. ECF No. 25.

I.    Amount of Compensation

       A. Pain and Suffering

       Respondent now proffers that, based on the Chief Special Master’s entitlement decision

and the evidence of record, petitioner should be awarded $52,500.00, for pain and suffering, in

the form of a check payable to petitioner. Petitioner agrees.

       The above amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
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II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made as

described below, and request that the Chief Special Master’s damages decision and the Court’s

judgment award the following: 1

       A. A lump sum of $52,500.00, in the form of a check payable to petitioner. This amount
          represents compensation for all damages that would be available under 42 U.S.C.
          § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             DARRYL R. WISHARD
                                             Assistant Director
                                             Torts Branch, Civil Division

                                             /s/ Kyle E. Pozza_____________
                                             KYLE E. POZZA
                                             Trial Attorney
                                             Torts Branch, Civil Division
                                             U.S. Department of Justice
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                                             Washington D.C. 20044-0146
                                             Tel: (202) 616-3661
                                             E-mail: Kyle.Pozza@usdoj.gov

Dated: July 26, 2022


1Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
                                                2
